         Case 8:19-mc-00005-AG-DFM Document 39 Filed 02/13/19 Page 1 of 5 Page ID #:681
                                                                                                           CLOSED
                                    U.S. District Court
                             U.S. District of Minnesota (DMN)
                  CIVIL DOCKET FOR CASE #: 0:18−mc−00076−WMW−KMM

In Re Banc of California Securities LitigationDO NOT DOCKET. CASE   Date Filed: 09/12/2018
HAS BEEN TRANSFERRED OUT.                                           Date Terminated: 02/07/2019
Assigned to: Judge Wilhelmina M. Wright                             Nature of Suit: 999 Miscellaneous civil case
Referred to: Magistrate Judge Katherine M. Menendez                 Jurisdiction: Federal Question
Cause: Civil Miscellaneous Case
Movant
Steven Sugarman                                      represented by Andrew R. Gray
                                                                    Latham & Watkins LLP
                                                                    650 Town Center Drive
                                                                    Ste 2000
                                                                    Costa Mesa, CA 92626
                                                                    714−540−1235
                                                                    Fax: 714−755−8290
                                                                    Email: andrew.gray@lw.com
                                                                    LEAD ATTORNEY
                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED

                                                                    Bret A. Puls
                                                                    Fox Rothschild LLP
                                                                    222 South Ninth St.
                                                                    Suite 2000
                                                                    Minneapolis, MN 55402
                                                                    (612) 607−7000
                                                                    Fax: (612) 607−7100
                                                                    Email: bpuls@foxrothschild.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Samuel J. Tunheim
                                                                    Fox Rothschild LLP
                                                                    222 South Ninth Street
                                                                    Suite 2000
                                                                    Minneapolis, MN 55402
                                                                    612−607−7245
                                                                    Fax: 612−607−7100
                                                                    Email: stunheim@foxrothschild.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Respondent
Castalian Partners Value Fund LP                     represented by Aaron G Thomas
                                                                    Briggs & Morgan, PA
                                                                    80 S 8th St Ste 2200
                                                                    Mpls, MN 55402
                                                                    612−977−8845
         Case 8:19-mc-00005-AG-DFM Document 39 Filed 02/13/19 Page 2 of 5 Page ID #:682
                                                        Fax: 612−977−8650
                                                        Email: athomas@briggs.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Charles B Rogers
                                                        Briggs & Morgan, PA
                                                        80 S 8th St Ste 2200
                                                        Mpls, MN 55402
                                                        612−977−8446
                                                        Fax: 612−977−8650
                                                        Email: crogers@briggs.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jordan Weber
                                                        Briggs & Morgan, PA
                                                        80 S 8th St Ste 2200
                                                        Mpls, MN 55402
                                                        612−977−8872
                                                        Fax: 612−977−8650
                                                        Email: jweber@briggs.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Ruvin S. Jayasuriya
                                                        Briggs and Morgan, P.A.
                                                        Ids Center
                                                        80 S. 8th St.
                                                        Ste 2200
                                                        Minneapolis, MN 55402
                                                        612−977−8423
                                                        Email: rjayasuriya@briggs.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Respondent
James Gibson                               represented by Aaron G Thomas
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Charles B Rogers
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jordan Weber
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Ruvin S. Jayasuriya
                                                        (See above for address)
         Case 8:19-mc-00005-AG-DFM Document 39 Filed 02/13/19 Page 3 of 5 Page ID #:683
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

DO NOT DOCKET. CASE HAS BEEN TRANSFERRED OUT.'">Email All Attorneys
DO NOT DOCKET. CASE HAS BEEN TRANSFERRED OUT.'">Email All Attorneys and Additional Recipients

Date Filed     #    Docket Text

09/12/2018    Ï1    Motion to Compel Compliance with Subpoenas (filing fee $ 47, receipt number
                    AMNDC−6365593). (Attachments: # 1 Civil Cover Sheet) (Tunheim, Samuel) (Entered:
                    09/12/2018)

09/12/2018    Ï2    NOTICE OF HEARING ON MOTION 1 Motion to Compel Compliance with Subpoenas: at a Date
                    and time to be determined. (Tunheim, Samuel) Modified on 9/12/2018 (lmb). (Entered:
                    09/12/2018)

09/12/2018    Ï3    Declaration of Andrew Gray in Support of 1 Motion to Compel Compliance with Subpoenas filed
                    by Steven A Sugarman. (Attachments: # 1 Exhibit(s) A and B)(Tunheim, Samuel) Modified on
                    9/12/2018 (lmb). (Entered: 09/12/2018)

09/12/2018    Ï4    MEET and CONFER STATEMENT re 1 Initiating Petition/Motion (Miscellaneous Case) filed by
                    Steven A Sugarman.(Tunheim, Samuel) (Entered: 09/12/2018)

09/12/2018    Ï5    CERTIFICATE OF SERVICE by Steven A Sugarman re 4 Meet and Confer Statement, 3
                    Declaration in Support, 1 Motion to Compel Compliance with Subpoenas, 2 Notice of Hearing on
                    Motion. (Tunheim, Samuel) Modified on 9/12/2018 (lmb). (Entered: 09/12/2018)

09/12/2018    Ï6    TEXT ONLY ENTRY: CLERK'S NOTICE OF INITIAL CASE ASSIGNMENT. Case assigned to
                    Judge Wilhelmina M. Wright per Civil (Miscellaneous) list, referred to Magistrate Judge Katherine
                    M. Menendez. Please use case number 18−mc−76 (WMW/KMM). (lmb) (Entered: 09/12/2018)

09/13/2018    Ï7    NOTICE of Appearance by Charles B Rogers on behalf of Castalian Partners Value Fund LP,
                    James Gibson. (Rogers, Charles) (Entered: 09/13/2018)

09/13/2018    Ï8    NOTICE of Appearance by Aaron G Thomas on behalf of Castalian Partners Value Fund LP,
                    James Gibson. (Thomas, Aaron) (Entered: 09/13/2018)

09/14/2018    Ï9    AMENDED NOTICE of Hearing on Motion: 1 Motion to Compel Compliance with Subpoenas
                    (filing fee $ 47, receipt number AMNDC−6365593) : Motion Hearing set for 10/22/2018 at 03:30
                    PM in Courtroom 8E (MPLS) before Magistrate Judge Katherine M. Menendez. (Tunheim,
                    Samuel) (Entered: 09/14/2018)

09/14/2018   Ï 10   (Text−Only) BRIEFING SCHEDULE ORDER: Steven Sugarman's memorandum of law in support
                    of his motion to compel, along with any supporting affidavits, declarations, and exhibits, shall be
                    filed no later than 9/28/2018. The Respondents, Castalian Partners Value Fund LP and James
                    Gibson, shall file any response to Mr. Sugarman's motion, including a memorandum of law and any
                    supporting affidavits, declarations, and exhibits, no later than 10/12/2018. Ordered by Magistrate
                    Judge Katherine M. Menendez on 9/14/2018. (KAT) (Entered: 09/14/2018)

09/18/2018   Ï 11   TEXT ONLY ENTRY: Notice re: Non−Admitted Attorney

                    We have received documents listing Manuel A. Abascal; Brian Glennon; Kristen Tuey; Michele
                    D. Johnson; Andrew R. Gray as counsel of record. If he or she wishes to be listed as an attorney
                    of record in this case, he or she must be admitted to the bar of the U.S. District Court of Minnesota
                    in accordance with Local Rule 83.5 (a), (b) and (c) or temporarily admitted pro hac vice in
                    accordance with Local Rule 83.5 (d) or (e).
        Case 8:19-mc-00005-AG-DFM Document 39 Filed 02/13/19 Page 4 of 5 Page ID #:684
                    For more admissions information and forms, please see the Attorney Forms Section of the courts
                    website at href=http://www.mnd.uscourts.gov/FORMS/court_forms.shtml#attorneyforms. (AKL)
                    (Entered: 09/18/2018)

09/19/2018   Ï 12   MOTION for Admission Pro Hac Vice for Attorney Andrew R. Gray. Filing fee $ 100, receipt
                    number AMNDC−6378021 filed by Steven Sugarman. (Tunheim, Samuel) (Entered: 09/19/2018)

09/19/2018   Ï 13   TEXT ONLY ENTRY: ORDER granting 12 Motion for Admission Pro Hac Vice of Attorney
                    Andrew R. Gray for Steven Sugarman. Approved by Magistrate Judge Katherine M. Menendez on
                    9/19/2018. (JGK) (Entered: 09/19/2018)

09/28/2018   Ï 14   SEALED MEMORANDUM in Support re 1 Motion to Compel Compliance with Subpoenas (filing
                    fee $ 47, receipt number AMNDC−6365593) filed by Steven A. Sugarman. (Attachments: # 1
                    LR7.1/LR72.2 Word Count Compliance Certificate)(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 15   Redacted Document for 14 Sealed Memorandum in Support of Motion to Compel Production filed
                    by Steven Sugarman.(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 16   Declaration of Andrew R. Gray in Support of 1 Motion to Compel Compliance with Subpoenas
                    (filing fee $ 47, receipt number AMNDC−6365593) filed by Steven Sugarman. (Attachments: # 1
                    Exhibit(s) 1−9, # 2 Exhibit(s) 12−14)(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 17   SEALED EXHIBIT 10 re 16 Declaration in Support, filed by Steven A. Sugarman.(Tunheim,
                    Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 18   Redacted Document for 17 Sealed Exhibit 10 to Declaration of Andrew R. Gray filed by Steven
                    Sugarman.(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 19   SEALED EXHIBIT 11 re 16 Declaration in Support, filed by Steven A. Sugarman.(Tunheim,
                    Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 20   Redacted Document for 19 Sealed Exhibit 11 to the Declaration of Andrew R. Gray filed by Steven
                    Sugarman.(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 21   SEALED Declaration of Torben Voetmann in Support of 1 Motion to Compel Compliance with
                    Subpoenas (filing fee $ 47, receipt number AMNDC−6365593) filed by Steven A.
                    Sugarman.(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 22   Redacted Document for 21 Sealed Declaration of Torben Voetmann filed by Steven
                    Sugarman.(Tunheim, Samuel) (Entered: 09/28/2018)

09/28/2018   Ï 23   PROPOSED ORDER TO JUDGE re 1 Motion to Compel Compliance with Subpoenas (filing fee $
                    47, receipt number AMNDC−6365593) filed by Steven Sugarman.(Tunheim, Samuel) (Entered:
                    09/28/2018)

10/12/2018   Ï 24   MEMORANDUM in Opposition re 1 Motion to Compel Compliance with Subpoenas (filing fee $
                    47, receipt number AMNDC−6365593) filed by Castalian Partners Value Fund LP, James Gibson.
                    (Attachments: # 1 LR7.1/LR72.2 Word Count Compliance Certificate)(Thomas, Aaron) (Entered:
                    10/12/2018)

10/12/2018   Ï 25   DECLARATION of James Gibson in Opposition to 1 Motion to Compel Compliance with
                    Subpoenas (filing fee $ 47, receipt number AMNDC−6365593) filed by Castalian Partners Value
                    Fund LP, James Gibson. (Attachments: # 1 Exhibit(s) 1, # 2 Exhibit(s) 2)(Thomas, Aaron)
                    (Entered: 10/12/2018)

10/12/2018   Ï 26   DECLARATION of Aaron G. Thomas in Opposition to 1 Motion to Compel Compliance with
                    Subpoenas (filing fee $ 47, receipt number AMNDC−6365593) filed by Castalian Partners Value
                    Fund LP, James Gibson. (Attachments: # 1 Exhibit(s) A, # 2 Exhibit(s) B, # 3 Exhibit(s) C, # 4
        Case 8:19-mc-00005-AG-DFM Document 39 Filed 02/13/19 Page 5 of 5 Page ID #:685
                    Exhibit(s) D, # 5 Exhibit(s) E)(Thomas, Aaron) (Entered: 10/12/2018)

10/12/2018   Ï 27   PROPOSED ORDER TO JUDGE re Denying Motion to Compel Production 24 Memorandum in
                    Opposition to Motion,. (Thomas, Aaron) (Entered: 10/12/2018)

10/22/2018   Ï 28   NOTICE of Appearance by Jordan Weber on behalf of Castalian Partners Value Fund LP, James
                    Gibson. (Weber, Jordan) (Entered: 10/22/2018)

10/22/2018   Ï 29   Minute Entry for proceedings held before Magistrate Judge Katherine M. Menendez: Motion
                    Hearing held on 10/22/2018 re 1 Motion to Compel Compliance with Subpoenas (filing fee $ 47,
                    receipt number AMNDC−6365593) filed by Steven Sugarman. (LCC) (Entered: 10/22/2018)

10/26/2018   Ï 30   REQUEST for an Expedited 7−Day Transcript of a Digital Audio Recording. (Tunheim, Samuel)
                    (Entered: 10/26/2018)

11/01/2018   Ï 32   REQUEST for an Expedited 7−Day Transcript of a Digital Audio Recording. (Jayasuriya, Ruvin)
                    (Entered: 11/01/2018)

11/02/2018   Ï 33   REQUEST for an Expedited 14−Day Transcript of a Digital Audio Recording. (JGK) (Entered:
                    11/02/2018)

11/26/2018   Ï 34   DOCUMENT FILED IN ERROR−WILL REFILE. NOTICE of Filing of Official Transcript. This
                    filing has 1 transcript(s) associated with it. (RAR) Modified text on 11/26/2018 (lmb). (Entered:
                    11/26/2018)

11/26/2018   Ï 35   TRANSCRIPT of Motions Hearing held on 10/22/2018 before Magistrate Judge Katherine M.
                    Menendez. (50 pages). Transcriber: Renee Rogge. For a copy of the transcript, please file a
                    Transcript Request under Other Filings/Other Documents.

                    For information on redaction procedures, please review Local Rule 5.5. Redaction Request due
                    12/17/2018. Redacted Transcript Deadline set for 12/27/2018. Release of Transcript Restriction set
                    for 2/25/2019. (RAR) (Entered: 11/26/2018)

11/26/2018   Ï 36   NOTICE of Filing of Official Transcript. This filing has 1 transcript(s) associated with it. (RAR)
                    (Entered: 11/26/2018)

12/13/2018   Ï 37   REPORT AND RECOMMENDATION re 1 Motion to Compel Compliance with Subpoenas (filing
                    fee $ 47, receipt number AMNDC−6365593) filed by Steven Sugarman. Signed by Magistrate
                    Judge Katherine M. Menendez on 12/13/2018. (LCC) (Entered: 12/13/2018)

02/07/2019   Ï 38   IT IS HEREBY ORDERED that the December 13, 2018 R&R, 37 , is ADOPTED and this case is
                    TRANSFERRED to the United States District Court for the Central District of California. (Written
                    Opinion) Signed by Judge Wilhelmina M. Wright on 2/7/2019. (RJE) (Entered: 02/07/2019)
